

Pursuit Inv. Mgt. LLC v Alpha Beta Capital Partners, L.P. (2015 NY Slip Op 01591)





Pursuit Inv. Mgt. LLC v Alpha Beta Capital Partners, L.P.


2015 NY Slip Op 01591


Decided on February 24, 2015


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on February 24, 2015

Friedman, J.P., Sweeny, Saxe, Feinman, Clark, JJ.


14337N

[*1] Pursuit Investment Management LLC, et al., Plaintiffs-Respondents,652457/13E
vAlpha Beta Capital Partners, L.P., et al., Defendants, Harris &amp; Houghteling LLP, Defendant-Appellant.


Furman, Kornfeld &amp; Brennan LLP, New York (Evan W. Bolla of counsel), for appellant.
Cane &amp; Associates LLP, New York (Peter S. Cane of counsel), for respondents.



Order, Supreme Court, New York County (Richard F. Braun, J.), entered on or about September 9, 2014, which denied the motion of defendant Harris &amp; Houghteling LLP (Harris) to dismiss the complaint as against it pursuant to CPLR 3211(a)(7), unanimously reversed, on the law, with costs, and the motion granted. The Clerk is directed to enter judgment dismissing the complaint as against Harris.
Dismissal of the complaint as against Harris is warranted since plaintiffs failed to state a viable claim for tortious interference with contract; plaintiffs did not allege that Harris's conduct was the "but for" causation of their purported damages (see Wilmington Trust Co. v Burger King Corp., 34 AD3d 401, 402-403 [1st Dept 2006], lv denied 8 NY3d 806 [2007]; Cantor Fitzgerald Assoc. v Tradition N. Am., 299 AD2d 204 [1st Dept 2002], lv denied 99 NY2d 508 [2003]).
Dismissal of the action as against Harris, a law firm, is also warranted because it is immune from liability "under the shield afforded attorneys in advising their clients, even when such advice is erroneous, in the absence of fraud, collusion, malice or bad faith" (Purvi Enters., LLC v City of New York, 62 AD3d 508, 509-510 [1st Dept 2009] [internal quotation marks [*2]omitted]). To the extent plaintiffs allege fraud, collusion, malice and bad faith on the part of Harris, these allegations are conclusory (see Abrams v Pecile, 84 AD3d 618, 619 [1st Dept 2011]).
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: FEBRUARY 24, 2015
CLERK








